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                         UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION




    IN RE PROCTER & GAMBLE AEROSOL
    PRODUCTS MARKETING AND SALES                                  MDL No. 3025
    PRACTICES LITIGATION


            INTERESTED PARTY RESPONSE OF PLAINTIFFS MIRIAM
          AMSELEM AND SHERI CLAYTON TO MOTION FOR TRANSFER
        OF ACTIONS PURSUANT TO 28 U.S.C. § 1407 FOR COORDINATED OR
                 CONSOLIDATED PRETRIAL PROCEEDINGS

                                       Oral Argument Requested

        Pursuant to Rule 6.2(e) of the Rules of Procedure for the Judicial Panel of Multidistrict

Litigation (“Panel”), Plaintiff Miriam Amselem (Case No. 0:21-cv-62285-DPG) (filed Nov. 4,

2021) 1 and Plaintiff Sheri Clayton (Case No. 1:21-cv-22426-CMA) (filed Dec. 22, 2021)

(collectively, “Movants”), respectfully file this Response to the Motion filed by Defendant The

Procter & Gamble Company (“P&G”) for Transfer of Actions to the Southern District of Florida

Pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial Proceedings. See ECF 1.

        Movants agree with Defendant P&G’s request to transfer all actions to the Southern District

of Florida before Judge Gayles, who is currently presiding over the first-filed case. For brevity,

Movants adopt the background set forth in Defendant P&G’s motion for transfer, as well as the

legal arguments set forth therein. Movants merely emphasize the following points in support of

transfer to the Southern District of Florida.

        First, there is no question all pending cases arise out of the same common nucleus of fact,




1
  Amselem was the first-filed case involving P&G aerosol products, but was initially styled as
Bryski v. The Procter & Gamble Co. Shortly after filing Plaintiff/Movant Amselem was
substituted for former Plaintiff Bryski.
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viz., the recent discovery by non-party Valisure of benzene in P&G’s aerosol products.

       Second, there is little doubt that coordination or consolidation will service the convenience

of the parties and witnesses, and conserve judicial resources. The core issues in each case are the

same – the benzene contamination in P&G’s aerosol products. Further, since P&G filed its motion

to transfer, a number of other related class action cases have been filed. The increasing number of

cases warrants coordination or consolidation.

       Third, and related to the foregoing points, since filing its motion, P&G has expanded its

recall of aerosol antiperspirants to include aerosol dry shampoos and conditioners as well. 2 It now

appears that the benzene contamination may be related to the aerosol propellant used by P&G, and

not a particular product per se (e.g., antiperspirant versus dry shampoo versus dry conditioner; but

rather the aerosol propellant used with all of these products). Further, the Clayton action (one of

the Movants here), filed in the Southern District of Florida shortly after the expanded recall, is

believed to be the first-filed case involving P&G aerosol dry shampoo or conditioner products (as

opposed to just aerosol antiperspirant and deodorant products). Were the Panel inclined to create

an MDL, Movants believe it is appropriate to include all P&G aerosol products, not just P&G’s

aerosol antiperspirants and deodorants, and certainly P&G’s aerosol shampoo and conditioner

products should be included.

       Fourth, the Panel often considers the venue of the first-filed action when determining

where to centralize related cases. See, e.g., In re Broiler Chicken Grower Antitrust Litig., 509 F.

Supp. 3d 1359, 1362 (J.P.M.L. 2020) (centralizing in Oklahoma because “[t]he Oklahoma action is the



2
 See P&G ISSUES VOLUNTARY RECALL OF AEROSOL DRY CONDITIONER SPRAY PRODUCTS AND
AEROSOL DRY SHAMPOO SPRAY PRODUCTS (Dec. 17, 2021), available at
https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/pg-issues-voluntary-recall-
aerosol-dry-conditioner-spray-products-and-aerosol-dry-shampoo-
spray?utm_medium=email&utm_source=govdelivery (last accessed Jan. 3, 2022).
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first-filed action”); In re Juul Labs, Inc., Mktg., Sales Pracs., & Prod. Liab. Litig., 396 F. Supp. 3d at

1368 (noting pendency of first-filed case in district as factor). The Amselem action (formerly styled as

Bryski), was the first-filed action among these related cases, having been filed shortly after the factual

predicate for all plaintiffs’ claims were made public via the Citizen’s Petition filed by Valisure, the

non-party pharmacy that detected the benzene in P&G’s aerosol products. Additionally, multiple cases

are now pending in the Southern District of Florida. The Clayton action, also pending in the Southern

District of Florida, is believed to be the first-filed action involving P&G aerosol shampoo and

conditioner products. Given this, the Southern District of Florida should be accorded appropriate

consideration were the Panel to create an MDL; indeed, many other interested parties – including P&G

itself – support the Southern District of Florida as the forum for all P&G aerosol product cases.

        Fifth, as noted in P&G’s motion, the Southern District of Florida is a relatively convenient

and accessible forum; the District has a significantly lower average caseload than alternative fora;

has a more favorable disposition rate for cases than alternative fora (particularly the Southern

District of Ohio, which has an average time interval to disposition that is three times longer than

the Southern District of Florida); 3 and Judge Gayles has the experience to handle an MDL of this

anticipated size and complexity.


Dated: January 4, 2022

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3
  The Southern District of Florida has a median time interval of 3.2 months for civil cases from
initiation to termination, whereas the Southern District of Ohio has an interval of 10.4 months. See
https://www.uscourts.gov/sites/default/files/data_tables/jb_c5_0930.2021.pdf (last accessed Jan.
3, 2022).
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